                                                                         Motion GRANTED.

                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
                                                )
vs.                                             )       NO: 2:11-00002
                                                )           JUDGE TRAUGER
                                                )
TIMOTHY RICHARD FORSTER                         )



                         MOTION TO WITHDRAW DETAINER


       Comes the defendant, Timothy Forster, by and through counsel

and with the agreement of the government by Assistant United States

Attorney Alex Little and moves the court to withdraw the detainer

lodged by the U.S. Marshall with State of Tennessee, Cumberland

County.

       In support of which it would be shown that the government

agrees to withdraw the detainer lodged against the defendant in

this   matter   and     to   permit     the     defendant     to   be    released   on

conditions and appear on September 27, 2012 before this court for
sentencing.     The    defendant       is     presently      scheduled    to   appear

Cumberland County Criminal Court on August 18, 2012 on a domestic

assault at which time it is anticipated that the domestic assault

charges against the defendant will either be dismissed or set for

a future trial and that the defendant admitted bail on State

charges.

       The defendant submits that a voluntary appearance will permit

the U.S. Marshall’s Service to avoid the expense of transporting

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